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              EXHIBIT 1
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION


IN RE: ETHICON, INC., PELVIC                             Master File No. 2:12-MD-02327
REPAIR SYSTEM PRODUCTS                                             MDL 2327
LIABILITY LITIGATION

                                                             JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO ALL                                 U.S. DISTRICT JUDGE
CASES



                      NOTICE TO TAKE ORAL DEPOSITION
               OF DEFENDANTS THROUGH DESIGNATED WITNESSES

TO:    Defendants ETHICON, INC. and Johnson & Johnson, Inc. (hereinafter “Defendants”)

and their Attorneys of Record.

       Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants’

corporate designees on September 30, 2013, beginning at 9 a.m. Eastern at the offices of Riker

Danzig in Morristown, New Jersey. The witness(es) shall be prepared to testify concerning the

subject matters identified in Exhibit “A”, attached hereto. The witness shall produce documents

identified in Exhibit “B”, attached hereto, prior to the deposition. The deposition will be taken

before a person authorized by law to administer oaths, pursuant to Rule 28 of the Federal Rules

of Civil Procedure, and will continue day-to-day until the examination is completed.

                                         DEFINITIONS

       All definitions and rules of instructions set forth in Fed. Rule Civ. P. 30(b)(6) shall apply

to all requests for information herein. To the extent a term commonly in use in the medical

device industry is not defined herein, it shall be understood to be consistent with the meaning

commonly ascribed to that term in the medical device industry.
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       1.      “Concerning” means referring to, describing, evidencing, or constituting. See LR

Civ. P 26.2(c)(7).

       2.      “Defendants”, “Ethicon, Inc.”, “Johnson & Johnson Inc.”, “you” or “your” refers

to, without limitation, Ethicon, Inc., Johnson & Johnson Inc., and all business entities with which

it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary entity

as well as any officer, director, employee, attorney, agent, or representative of any such other

business entity previously described herein.

       3.      “Document” is synonymous in meaning and equal in scope to the usage of this

term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,

drawings, graphs, charts, photographs, sound recordings, images, and other data or data

compilations stored in any medium from which information can be obtained either directly or, if

necessary, after translation by you into a reasonably usable form. A draft or non-identical copy

is a separate document. See LR Civ. P. 26.2(c)(2); see also FR Civ. P 34(a).

       4.      “TVT” includes the TVT Tension Free Vaginal Tape System (Retropubic) cleared

by the FDA on or about January 1, 1998, which was developed, designed, distributed, licensed,

manufactured, marketed or sold for the treatment of Stress Urinary Incontinence (SUI). The

term “TVT” also includes any kits or tools designed to be sold with the TVT, and the IVS

(Intravaginal slingplasty device) which was developed, designed, distributed, licensed,

manufactured, marketed or sold for the treatment of Stress Urinary Incontinence (SUI).

       5.      “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT to the present.

       This 29th Day of August, 2013.




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                                     PLAINTIFFS’ CO-LEAD COUNSEL


                                     By: ____/s/D. Renee Baggett_____________
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                                        Plaintiffs’ Co-Lead Counsel




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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

------------------------------------------------------------------      MDL No. 2327
THIS DOCUMENT RELATES TO ALL CASES


                                      CERTIFICATE OF SERVICE

         I hereby certify that on August 29, 2013, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                                      /s/ D. Renee Baggett_______________
                                                      D. RENEE BAGGETT
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                          EXHIBT A
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                                         EXHIBIT “A”

                             DEPOSITION SUBJECT MATTER

       Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge and shall be able to

testify concerning the following subject matters:

       1.      The identity of any former or current manufacturer of the TVT product or product

components during the relevant time period, including details regarding dates of manufacture

and components or devices produced.

       2.      The identity, location, storage and organization of documentation regarding

clinical studies transferred or received by Defendants from Medscand Medical, Cooper Surgical

Inc., or any other previous manufacturer or distributor of TVT.

       3.      The decision of whether or not to store or destroy the documentation and actual

TVT products and/or exemplars shipped to defendant by Medscand Medical, Cooper Surgical

Inc., or any other previous manufacturer or distributor of TVT.

       4.      The identity, location, storage and organization of documentation regarding shelf

life studies transferred or received by Defendants from Medscand Medical, Cooper Surgical Inc.,

or any other previous manufacturer or distributor of TVT.

       5.      The identity, location, storage and organization of documentation regarding batch

history records transferred or received by Defendants from Medscand Medical, Cooper Surgical

Inc., or any other previous manufacturer or distributor of TVT.

       6.      The identity, location, storage and organization of actual TVT product retains

held by Defendants or their representatives as well as documentation regarding such product

retains transferred or received by Defendants from Medscand Medical, Cooper Surgical Inc, or

any other previous manufacturer or distributor of TVT.
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                                          EXHIBIT “B”

                                   DOCUMENT REQUESTS

       Please produce or if already produced, identify exact bates ranges with a brief

identification of each document:

       1.      All documents relied upon by the deponent in preparing for this deposition.

       2.      All documents, product exemplars and retained products provided by Medscand

Medical, Cooper Surgical Inc., or any previous manufacturer or distributor of TVT product or

components and/or their representatives to Defendants including but not limited to all studies,

data   and   other   records   related   to   TVT      as   referenced   in   ETH.MESH.05220458-

ETH.MESH.05220464.

       3.      All communications between Defendants, Medscand Medical, Cooper Surgical

Inc., or any previous manufacturer or distributor of TVT product or components and/or their

representatives concerning transfer of TVT documents and retained product.

       4.      All agreements between Defendants and Medscand Medical, Cooper Surgical

Inc., or any previous manufacturer or distributor of TVT product or components and/or their

representatives concerning TVT including but not limited to transfer agreements, manufacturing

agreements, license agreements, purchase orders, , and any amendments thereto.

       5.      All documents concerning testing, maintenance, and storage of TVT exemplars

and retained product, including but not limited to: manifests or inventories, storage conditions,

storage locations, testing methods and test results.

       6.      All documents provided by Medscand Medical, Cooper Surgical Inc., or any

previous manufacturer or distributor of TVT product or components and/or their representatives

to Defendants as required by the above referenced agreements.



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       7.     All documents reflecting amounts paid by Defendants to Medscand Medical,

Cooper Surgical Inc., or any previous manufacturer or distributor of TVT product or components

and/or their representatives to. in connection with above referenced agreements.

       8.     All documents and/or communications referencing the decision as to whether or

not to retain or destroy documents or exemplars received from Medscand Medical, Cooper

Surgical Inc., or any previous manufacturer or distributor of TVT product or complonent.




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